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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

CIVIL ACTION NO. 20-CV-11837-RWZ

ONE WORLD, LLC and GABRIEL CHALEPLIS
Vv.

IONNIS MANOLAKOS, et al.

ORDER

 

September 1, 2021
ZOBEL, S.D.J.

Plaintiffs brought this action to recover funds they claim defendant lonnis
Manolakos and others misappropriated while working on plaintiffs’ behalf. Manolakos
now moves to quash third-party subpoenas that plaintiffs served on four companies—
Ocean City Development, LLC; 95 Management, LLC; MBC Ventures, LLC; and RG
Management, LLC (“the companies”)—which are alleged to have exchanged funds with
Manolakos around the time of the misappropriation. (Docket # 73).' In response,
plaintiffs oppose the motion to quash and cross-move to enforce the subpoenas, citing
materials already produced by the companies that detail the timing and amount of the
transfers. (Docket # 81).

The subpoenas seek an overly broad range of materials that appears to be
beyond the scope of the allegations in the complaint. For example, plaintiffs seek all of

the companies’ leases, purchase and sale agreements, tax returns, and loan

 

1 The companies join the motion to quash. (Docket # 73).

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documents without confining their request to only those documents that may pertain to
Manolakos. See, e.g., (Docket # 80-6 at 9 (“Any and all written leases and/or
purchase/sale agreements relating to Ocean City’s business operations.”)). Manolakos’
and the companies’ joint motion to quash is therefore ALLOWED to the extent the
subpoenas seek materials unrelated to alleged conduct by Manolakos or any entities he

may own. (Docket # 73). Plaintiffs’ cross-motion is denied as moot. (Docket # 80).?

September 1, 2021 Co) PLL

DATE RYA W. ZOBEL
UNITED’STATES DISTRICT JUDGE

 

2 Manolakos' and the companies’ requests for sanctions against plaintiffs’ counsel as well as costs and
fees are denied. (Docket ## 73, 82).

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